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     Class
 7
 8                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10   TERRY FABRICANT AND LOUIS
     FLOYD, individually and on behalf of         Case No.
11   all others similarly situated,
12                                                COMPLAINT FOR:
                        Plaintiffs,
13
                                                      1. VIOLATIONS OF THE
14         v.
                                                         TELEPHONE CONSUMER
15                                                       PROTECTION ACT, 47
     APPSOLUTELY MEDIA, LLC,                             U.S.C. § 227(b)
16
17                      Defendant.
                                                  Class Action
18
                                                  DEMAND FOR JURY TRIAL
19
20
21         Plaintiffs Terry Fabricant and Louis Floyd (“Plaintiffs”) by their
22
     undersigned counsel, for this class action complaint against Appsolutely Media,
23
24   LLC and its present, former, or future direct and indirect parent companies,
25
     subsidiaries, affiliates, agents, and/or other related entities (“Appsolutely Media”
26
27   or “Defendant”), allege as follows:

28



                                      COMPLAINT - 1
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 1                              I.          INTRODUCTION
 2
           1.     Nature of Action. As the Supreme Court recently explained,
 3
 4   “Americans passionately disagree about many things. But they are largely united in
 5   their disdain for robocalls. The Federal Government receives a staggering number
 6
 7   of complaints about robocalls—3.7 million complaints in 2019 alone. The States

 8   likewise field a constant barrage of complaints. For nearly 30 years, the people’s
 9
     representatives in Congress have been fighting back. As relevant here, the
10
11   Telephone Consumer Protection Act of 1991, known as the TCPA, generally
12   prohibits robocalls to cell phones and home phones.” Barr v. Am. Ass'n of Political
13
14   Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (July 6, 2020).

15         2.     Plaintiffs, individually and as class representatives for all others
16
     similarly situated, bring this action against Appsolutely Media for violations of the
17
18   Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”). Appsolutely
19
     Media engaged in automated telemarketing in violation of the TCPA using pre-
20
21   recorded messages that were sent to cellular telephones.

22         3.     Because telemarketing campaigns generally place calls to hundreds of
23
     thousands or even millions of potential customers en masse, Plaintiffs bring this
24
25   action on behalf of a proposed nationwide class of other persons who received
26
     illegal telemarketing calls from or on behalf of Defendant.
27
28



                                     COMPLAINT - 2
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 1                                       II.   PARTIES
 2          4.     Plaintiff Terry Fabricant is an individual resident of this District, as he
 3
     was at the time of receipt of the pre-recorded telemarketing call.
 4
 5          5.     Plaintiff Louis Floyd is an individual resident of this District, as he
 6
     was at the time of receipt of the pre-recorded telemarketing call.
 7
 8          6.     Defendant Appsolutely Media, LLC is a California limited liability
 9   company with its principal place of business in Stanton, CA.
10
            7.     Appsolutely Media engages in telemarketing from and to this District,
11
12   as it did with the Plaintiffs.
13
                            III. JURISDICTION AND VENUE
14
15          8.     Jurisdiction. This Court has subject matter jurisdiction over Plaintiffs’
16   TCPA claims pursuant to 28 U.S.C. § 1331 because Plaintiffs’ TCPA claims arise
17
     under the laws of the United States, specifically, 47 U.S.C. § 227.
18
19          9.     Personal Jurisdiction. This Court has personal jurisdiction over
20
     Appsolutely Media because a substantial part of the wrongful acts alleged in this
21
22   Complaint were committed from California. Furthermore, Appsolutely Media is a
23   resident of this District.
24
            10.    Venue. Venue is proper in this District pursuant to 28 U.S.C. §
25
26   1391(b)(1)-(2) because a substantial part of the events giving rise to Plaintiffs’
27
     claims occurred from this District and Defendant resides here.
28



                                      COMPLAINT - 3
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 1
       IV.    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47
 2
 3                                       U.S.C. § 227
 4
             11.   In 1991, Congress enacted the TCPA in response to a growing number
 5
 6   of consumer complaints regarding certain telemarketing practices.

 7           12.   The TCPA makes it unlawful “to make any call (other than a call
 8
     made for emergency purposes or made with the prior express consent of the called
 9
10   party) using an automatic telephone dialing system or an artificial or prerecorded
11   voice … to any telephone number assigned to a … cellular telephone service.” 47
12
13   U.S.C. § 227(b)(1)(A)(iii). The TCPA provides a private cause of action to

14   persons who receive calls in violation of Section 227(b)(1)(A). 47 U.S.C. §
15
     227(b)(3).
16
17           13.   According to findings by the Federal Communication Commission
18
     (“FCC”), the agency Congress vested with authority to issue regulations
19
20   implementing the TCPA, such calls are prohibited because, as Congress found,

21   automated or prerecorded telephone calls are a greater nuisance and invasion of
22
     privacy than live solicitation calls, and such calls can be costly and inconvenient.
23
24           14.   The FCC also recognized that “wireless customers are charged for
25
     incoming calls whether they pay in advance or after the minutes are used.” In re
26
27   Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, CG

28   Docket No. 02-278, Report and Order, 18 FCC Rcd. 14014, 14115 ¶ 165 (2003).


                                   COMPLAINT - 4
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 1         15.    In 2013, the FCC required prior express written consent for all
 2   autodialed or prerecorded telemarketing calls (“robocalls”) to wireless numbers
 3
     and residential lines. Specifically, it ordered:
 4
 5          [A] consumer’s written consent to receive telemarketing robocalls
 6          must be signed and be sufficient to show that the consumer: (1)
            received “clear and conspicuous disclosure” of the consequences of
 7          providing the requested consent, i.e., that the consumer will receive
 8          future calls that deliver prerecorded messages by or on behalf of a
            specific seller; and (2) having received this information, agrees
 9          unambiguously to receive such calls at a telephone number the
10          consumer designates. In addition, the written agreement must be
            obtained “without requiring, directly or indirectly, that the agreement
11          be executed as a condition of purchasing any good or service.”
12   In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
13
     1991, 27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote omitted).
14
15
16                            V.FACTUAL ALLEGATIONS
17         16.    Appsolutely Media offers search engine optimization services.
18
           17.    One of Appsolutely Media’s strategies for marketing its services and
19
20   generating new customers is telemarketing.
21
           18.    Appsolutely Media’s telemarketing includes the use of pre-recorded
22
23   messages to generate new business.
24         19.    Recipients of these calls, including Plaintiffs, did not consent to
25
     receive such telephone calls.
26
27
28



                                     COMPLAINT - 5
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 1         20.    Plaintiffs are, and at all times mentioned herein were, “person[s]” as
 2   defined by 47 U.S.C. § 153(39).
 3
     Call to Plaintiff Fabricant
 4
 5         21.    Plaintiff Fabricant’s telephone number, (818)-352-XXXX, is
 6
     registered to a cellular telephone service.
 7
 8         22.    On June 4, 2019, Mr. Fabricant received a pre-recorded call
 9   advertising search engine optimization services.
10
           23.    However, the company was not identified in the pre-recorded
11
12   message, which is a violation of the TCPA.
13
           24.    In order to ascertain the company calling him illegally, Mr. Fabricant
14
15   engaged the caller.
16         25.    The caller advertised Defendant’s search engine optimization services
17
     offered by the Defendant.
18
19         26.    The caller identified himself as Justin Stillwell.
20
           27.    The caller then sent an e-mail promoting the Defendant’s services
21
22   from justin.stillwell@appsolutelymediallc.com.
23         28.    That is a website owned and operated by the Defendant.
24
           29.    The Plaintiff did not provide his prior express written consent to
25
26   Appsolutely Media to receive the call.
27
28



                                    COMPLAINT - 6
     Case 8:21-cv-01502-DOC-ADS Document 1 Filed 09/13/21 Page 7 of 13 Page ID #:7




 1   Call to Plaintiff Floyd
 2         30.    Plaintiff Floyd’s telephone number, (650)-321-XXXX, is registered to
 3
     a cellular telephone service.
 4
 5         31.    On June 4, 2019, Mr. Floyd received a pre-recorded call advertising
 6
     search engine optimization services.
 7
 8         32.    However, the company was not identified in the pre-recorded
 9   message, which is a violation of the TCPA.
10
           33.    In order to ascertain the company calling him illegally, Mr. Floyd
11
12   engaged the caller.
13
           34.    The caller advertised the Defendant’s search engine optimization
14
15   services.
16         35.    The caller identified himself as Edward Escamilla.
17
           36.    The caller then sent an e-mail promoting the Defendant’s services
18
19   from edward.escamilla@appsolutelymediallc.com.
20
           37.    That is a website owned and operated by the Defendant.
21
22         38.    The Plaintiff did not provide his prior express written consent to
23   Appsolutely Media to receive the call.
24
           39.    Plaintiffs and all members of the Class, defined below, have been
25
26   harmed by the acts of Appsolutely Media because their privacy has been violated,
27
     they were annoyed and harassed, and, in some instances, they were charged for
28



                                     COMPLAINT - 7
     Case 8:21-cv-01502-DOC-ADS Document 1 Filed 09/13/21 Page 8 of 13 Page ID #:8




 1   incoming calls. The calls occupied their cellular telephone lines, rendering them
 2   unavailable for legitimate communication.
 3
 4                       VI.CLASS ACTION ALLEGATIONS
 5         40.    Class Definition. Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3),
 6
 7   Plaintiffs brings this case on behalf of the Class (the “Class”) defined as follows:

 8         Pre-Recorded Call Class: All persons to whom: (a) Appsolutely
 9         Media and/or a third party acting on Appsolutely Media’s behalf made
           one or more non-emergency telephone calls; (b) to their cellular
10         telephone numbers; (c) through the use of an artificial or prerecorded
11         voice; (d) at any time in the last four years through the date of trial.
12
13         41.    Numerosity. The Class is so numerous that joinder of all its members
14
     is impracticable. On the basis of Appsolutely Media’s en masse calling practices,
15
16   the Class has at least hundreds of members.
17         42.    Commonality. There are numerous questions of law and fact common
18
     to Plaintiffs and members of the Class. These common questions of law and fact
19
20   include, but are not limited to, the following:
21
                  a.     Whether Appsolutely Media used a prerecorded voice:
22
23                b.     Whether Appsolutely Media purchased telephone numbers of
24   individuals who had not consented to be called by it;
25
                  c.     Whether Appsolutely Media and/or its affiliates or agents,
26
27   and/or other persons or entities acting on Appsolutely Media’ behalf, knowingly
28



                                   COMPLAINT - 8
     Case 8:21-cv-01502-DOC-ADS Document 1 Filed 09/13/21 Page 9 of 13 Page ID #:9




 1   and/or willfully violated 47 U.S.C. § 227(b)(1)(A) by making any call, except for
 2   emergency purposes, to a cellular telephone number using an artificial or
 3
     prerecorded voice, thus entitling Plaintiffs and the Class to treble damages;
 4
 5                d.    Whether Appsolutely Media and/or its affiliates, agents, and/or
 6
     other persons or entities acting on Appsolutely Media’ behalf should be enjoined
 7
 8   from using pre-recorded messages in the future.
 9         43.    Typicality. Plaintiffs’ claims are typical of the claims of the Class.
10
     Plaintiffs’ claims and those of the Class arise out of the same course of conduct by
11
12   Appsolutely Media and are based on the same legal and remedial theories.
13
           44.    Adequacy. Plaintiffs will fairly and adequately protect the interests of
14
15   the Class. Plaintiffs have retained competent and capable counsel with experience
16   in TCPA and consumer class action litigation. Plaintiffs and their counsel are
17
     committed to prosecuting this action vigorously on behalf of the Class and have the
18
19   financial resources to do so. Neither Plaintiffs nor their counsel have interests
20
     contrary to or conflicting with those of the proposed Class.
21
22         45.    Predominance. Appsolutely Media has engaged in a common course
23   of conduct toward Plaintiffs and members of the Class. The common issues
24
     arising from this conduct that affect Plaintiffs and members of the Class
25
26   predominate over any individual issues. For example, the TCPA’s statutory
27
     damages obviate the need for mini-trials on actual damages. Adjudication of these
28



                                   COMPLAINT - 9
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 1    common issues in a single action has important and desirable advantages,
 2    including judicial economy.
 3
            46.    Superiority. A class action is the superior method for the fair and
 4
 5    efficient adjudication of this controversy. Classwide relief is essential to compel
 6
      Appsolutely Media to comply with the TCPA. The interest of individual members
 7
 8    of the Class in individually controlling the prosecution of separate claims against
 9    Appsolutely Media is small because the damages in an individual action for
10
      violation of the TCPA are small. Management of these claims is likely to present
11
12    significantly fewer difficulties than are presented in many class actions because the
13
      calls at issue are all automated and because the TCPA articulates bright-line
14
15    standards for liability and damages.
16          47.    Injunctive and Declaratory Relief is Appropriate. Appsolutely Media
17
      has acted on grounds generally applicable to the Class, thereby making final
18
19    injunctive relief and corresponding declaratory relief with respect to the Class
20
      appropriate on a classwide basis.
21
22                          VII.FIRST CAUSE OF ACTION
23          (Violations of the Telephone Consumer Protection Act, 47 U.S.C. §
                  227(b)(1)(A) on behalf of the Pre-Recorded Call Class)
24
25          48.    Plaintiffs reallege and incorporates by reference each and every
26    allegation set forth in the preceding paragraphs.
27
28



                                    COMPLAINT - 10
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 1          49.    The foregoing acts and omissions of Appsolutely Media and/or its
 2    affiliates or agents, and/or other persons or entities acting on Appsolutely Media’
 3
      behalf, constitute numerous and multiple violations of the TCPA, 47 U.S.C. §
 4
 5    227(b)(1)(A), by making non-emergency calls to the cellular telephone numbers of
 6
      Plaintiffs and members of the Pre-Recorded Call Class using an artificial or
 7
 8    prerecorded voice.
 9          50.    As a result of violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by
10
      Appsolutely Media and/or its affiliates or agents and/or other persons or entities
11
12    acting on its behalf, Plaintiffs and members of the Pre-Recorded Call Class are
13
      entitled to an award of $500 in damages for each and every call made to their
14
15    cellular telephone numbers using an artificial or prerecorded voice in violation of
16    the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).
17
            51.    Plaintiffs and members of the Pre-Recorded Call Class are also
18
19    entitled to and do seek injunctive relief prohibiting Appsolutely Media, its
20
      affiliates and agents, and/or any other persons or entities acting on its behalf from
21
22    violating the TCPA, 47 U.S.C. § 227(b)(1)(A), by making calls, except for
23    emergency purposes, to any cellular telephone numbers using an artificial or
24
      prerecorded voice.
25
26          52.    As a result of knowing and/or willful violations of the TCPA, 47
27
      U.S.C. § 227(b)(1)(A), by Appsolutely Media, its affiliates or agents, and/or other
28



                                    COMPLAINT - 11
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 1    persons or entities acting on its behalf, Plaintiffs and members of the Pre-Recorded
 2    Call Class are entitled to treble damages of up to $1,500 for each and every call
 3
      made to their cellular telephone numbers using an artificial or prerecorded voice in
 4
 5    violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).
 6
                             VIII.          PRAYER FOR RELIEF
 7
 8           WHEREFORE, Plaintiffs, on their own behalf and on behalf of all members
 9    of the Class, pray for judgment against Appsolutely Media as follows:
10
             A.       Certification of the proposed Class;
11
12           B.       Appointment of Plaintiffs as representative of the Class;
13
             C.       Appointment of the undersigned counsel as counsel for the Class;
14
15           D.       A declaration that actions complained of herein by Appsolutely Media
16    and/or its affiliates, agents, or related entities violate the TCPA;
17
             E.       An order enjoining Appsolutely Media and its affiliates, agents and
18
19    related entities from using pre-recorded messages to call cellular telephones, absent
20
      emergency circumstances and prohibiting the Defendant from advertising their
21
22    goods or services, except for emergency purposes, to any number on the National
23    Do Not Call Registry in the future;
24
             F.       Leave to amend this Complaint to conform to the evidence presented
25
26    at trial; and
27
28



                                      COMPLAINT - 12
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 1            G.    Orders granting such other and further relief as the Court deems
 2    necessary, just and proper.
 3
                               IX.           DEMAND FOR JURY
 4
 5            Plaintiffs demand a trial by jury for all issues so triable.
 6
              RESPECTFULLY SUBMITTED AND DATED this 13th day of September,
 7
 8    2021.

 9
10                                          By: /s/ Rachel E. Kaufman
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                                      COMPLAINT - 13
